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                                                                                        May 12, 2015
VIA ECF

Honorable A. Kathleen Tomlinson, USMJ
United States District Court, Eastern District of New York
100 Federal Plaza, Courtroom 910
Central Islip, New York 11722

       Re:     Weinrib, et al. v. Winthrop-University Hospital, et al.
               Docket No.: 14-CV-00953(JFB)(AKT)

Dear Judge Tomlinson:

       Plaintiffs’ counsel in the above-captioned action writes to address a dispute that arose
between Plaintiff’s counsel and counsel for Defendant Winthrop-University Hospital during the
Rule 30(b)(6) deposition of the latter’s designated corporate representative last Friday, May 8,
2015. During the deposition, counsel for Defendant instructed the witness not to answer on three
occasions. Plaintiffs’ counsel maintains that these instructions were improper, and that the
questions posed were reasonably calculated to lead to admissible evidence. For the reasons set
forth below, Plaintiffs’ counsel requests that the Court compel Defendant Winthrop-University
Hospital to answer the disputed questions.

        These issues are all related to Fed. R. Civ. P. 30(c)(2), which states: “(2) Objections. An
objection at the time of the examination—whether to evidence, to a party's conduct, to the officer's
qualifications, to the manner of taking the deposition, or to any other aspect of the deposition—
must be noted on the record, but the examination still proceeds; the testimony is taken subject to
any objection. An objection must be stated concisely in a nonargumentative and nonsuggestive
manner. A person may instruct a deponent not to answer only when necessary to preserve a
privilege, to enforce a limitation ordered by the court, or to present a motion under Rule 30(d)(3).”

        Courts in this Circuit interpret the rule as stating that the only proper circumstance in which
to instruct a witness not to answer is when the question seeks privileged information. Pressley v.
City of New York, No. 11-CV-3234 (PKC) (RER) (E.D.N.Y. Nov. 13, 2013); Reznik v. Macy’s,
Inc., No. 12-CV-5719 (JBW) (E.D.N.Y. May 1, 2013) (“Simply put, plaintiff's counsel violated
the rule by directing his client not to answer the questions; he should have noted the objections on
the record — thereby preserving his challenges to admissibility — and allowed plaintiff to respond
to those questions.”); Balk v. N.Y. Inst. Of Tech., No. CV 11-509 (JFB) (AKT) (E.D.N.Y. Nov. 19,
2012); State Farm Mutual Automobile Ins. Co. v. Tabakman, No. 06-CV-2896 (SLT) (JMA)
(E.D.N.Y. Oct. 3, 2008). See also, e.g., Brincko v. Rio Props., 278 F.R.D. 576, 580-81 (D. Nev.
2011) ("A lawyer may not instruct a witness not to answer repetitious, harassing or argumentative
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deposition questions . . . The remedy [] requires suspending the deposition and filing a motion.");
U.S. v. Carell, No. 3:09-0445 (M.D. Tenn. June 16, 2010) (“The language of Rule 30(c)(2) is clear
and unambiguous,” and counsel therefore “shall not improperly instruct deponents not to answer
questions for reasons other than those contained in” the rule).

        In other instances, Defense counsel asserted privilege on the basis of “attorney work
product” when no such privilege existed. The attorney work product doctrine is codified in Federal
Rule of Civil Procedure 26(b)(3), which states that "[o]rdinarily, a party may not discover
documents and tangible things that are prepared in anticipation of litigation or for trial by or for
another party or its representative." This doctrine "provides qualified protection for materials
prepared by or at the behest of counsel in anticipation of litigation or for trial." In re Grand Jury
Subpoenas, 318 F.3d 379, 383 (2d Cir. 2003). More specifically, it protects the "files and the
mental impressions of an attorney . . . reflected, of course, in interviews, statements, memoranda,
correspondence, briefs, mental impressions, personal beliefs, and countless other tangible and
intangible ways prepared in anticipation of litigation." A. Michael's Piano v. FTC, 18 F.3d 138,
146 (2d Cir. 1994) (internal quotation marks and citation omitted). To determine whether attorney
work product is implicated, courts consider whether "in light of the nature of the document and
the factual situation in the particular case, the document can fairly be said to have been prepared
or obtained because of the prospect of litigation." United States v. Adlman, 134 F.3d 1194, 1197
(2d Cir. 1998) (internal quotation marks and citation omitted). It bears emphasis that “[t]he mere
relation of documents to litigation does not automatically endow those documents with privileged
status." State of Me. v. U.S. Dep't of the Interior, 298 F.3d 60, 69 (1st Cir. 2002).

         In the present case, the documents about which Plaintiff’s counsel asked during the
deposition related to a file of previous complaints filed against Defendant by third parties, which
was kept in the witness’s office, and which was not prepared by Defense counsel in anticipation
of litigation in this case. Accordingly, attorney work product is plainly not implicated with respect
to such documents.

        In light of the foregoing, Plaintiff asks the Court to review the following sections of the
deposition (a rough copy of which is attached hereto as Exhibit A) and find the objects stated
therein to be improper:


       1. 77:23-79:9. Plaintiff’s counsel attempted to ask the witness whether she or Defendant
          was aware that the term “hearing impaired” is considered offensive by the deaf
          community. This question is relevant as pertains to the deliberate indifference standard
          for Plaintiffs’ Rehabilitation Act claim, because the deponent had already admitted that
          no deaf individuals were consulted in the making of hospital policy, and that the official
          policy referred to deaf individuals by the offensive term. Consequently, and admitting
          that the term itself is inflammatory, the question is highly relevant and was not posed

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          in an argumentative manner. Even if it had been, it was not proper for Defense counsel
          to direct the witness not to answer pursuant to the authority cited above.
       2. 110:5-111:2. Plaintiff’s counsel attempted to ask the witness what would be expected
          if an entire deaf family needed to request certain auxiliary aids. Defense counsel
          objected to the question as “inflammatory” before Plaintiff’s counsel even finished
          asking the question, and then obstinately refused to allow Plaintiff’s counsel to ask the
          question. Plaintiff’s counsel maintains that this question is not inflammatory, and that
          even if it were, Defense counsel nevertheless cannot instruct the witness not to answer
          pursuant to the authority above.
       3. 118:11-120:12. Plaintiff’s counsel attempted to ask the witness about a file of previous
          filed complaints located in a database accessible from the deponent’s office. The
          deponent admitted that she had reviewed this database “yesterday”. Plaintiff’s counsel
          then asked whether deponent had searched for complaints from deaf individuals, and
          Defense counsel objected that this question sought attorney work product. It is still
          unclear to Plaintiffs’ counsel how asking the deponent about reviewing her own files
          could implicate attorney work product. Defense counsel did not prepare the documents
          at issue, and indeed none of the documents were prepared or organized “in anticipation
          of litigation.”

        Finally, Plaintiff’s counsel asks the Court to note that, throughout the deposition, Defense
counsel repeatedly advised Plaintiff’s counsel that the proper procedure if a dispute arises is for
the witness to decline to answer the question and for Plaintiff’s counsel to file a motion to compel.
Pursuant to the authority cited above, this is incorrect; the proper procedure is for the deposition
to continue and the deponent to answer the question over the objection. By ignoring this rule,
Defense counsel obstructed the proceedings, necessitating the instant letter motion. Accordingly,
Plaintiff’s counsel requests that the Court consider, in its discretion, imposing sanctions and
awarding appropriate fees to Plaintiff’s counsel for time spent on this letter motion, pursuant to
Fed. R. Civ. P. 37.
                                                      Respectfully submitted,
                                                      EISENBERG & BAUM, LLP


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AR/pb/bf
Encl.

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